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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                          )
                                                          )
 SMARTMATIC USA CORP., SMARTMATIC                         )
 INTERNATIONAL HOLDING B.V., and SGO                      )
 CORPORATION LIMITED,                                     )
                                                          )
 Plaintiffs,                                              )     Case No. 21-cv-02900-CJN
                                                          )
 v.                                                       )
                                                          )
 HERRING NETWORKS, INC., d/b/a ONE
                                                          )
 AMERICA NEWS NETWORK,
                                                          )
 Defendant.                                               )
                                                          )
                                                          )
                        DECLARATION OF LEE B. MUENCH
               IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Civil Rule 83.2(d) of the United Sates District for the District of

Columbia, I, Lee B. Muench, hereby declare:

       1.      My full name is Lee B. Muench. I serve as counsel for Plaintiffs Smartmatic USA

Corp., Smartmatic International Holding B.V., and SGO Corporation Limited.

       2.      I am an attorney practicing with the law firm of Benesch, Friedlander, Coplan &

Aronoff LLP located at 71 S. Wacker Drive, 16th Floor, Chicago, IL 60606. My telephone number

is (312) 624-6405.

       3.      I am admitted to and am a member in good standing with the State Bar of Illinois.

Attached as Exhibit A is a certificate of good standing issued by the Clerk of the Supreme Court

of Illinois. I am also admitted to practice before the United States District Court for the Northern

District of Illinois, the United States District Court for the Central District of Illinois, and the

United States District Court for the Eastern District of Michigan.
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       4.      I certify that there are no pending disciplinary proceedings against me before any

bar, and I have not been disciplined by any bar in the past.

       5.      I have previously been admitted pro hac vice in this Court in US Dominion, Inc. et

al. v. My Pillow, Inc. et al., No. 21-cv-00445-CJN.

       6.      I do not practice law from an office located in the District of Columbia.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

September 29, 2022.




                                                               Lee B. Muench
